Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7753 Page 1 of 8



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   7   San Francisco, CA 94111
       Telephone: (415) 766-7451
   8   Facsimile: (415) 737-0642
   9   Attorneys for Roma Mikha, Inc., NMRM,
  10   Inc. and Skyline Market, Inc.

  11
                          UNITED STATES DISTRICT COURT
  12
                        SOUTHERN DISTRICT OF CALIFORNIA
  13

  14
        IN RE: OUTLAW LABORATORY,              Case No. 3:18-cv-840-GPC-BGS
  15    LP LITIGATION
                                               THE STORES’ PRETRIAL
  16                                           DISCLOSURES
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                                                           PRETRIAL DISCLOSURES
                                                       CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7754 Page 2 of 8



   1         Pursuant to Federal Rule of Civil Procedure 26(a)(3), Defendant Roma
   2   Mikha, Inc. and Third-Party Plaintiffs NMRM, Inc. and Skyline Market, Inc.
   3   (collectively, “the Stores”) hereby provide their pretrial disclosures. The Stores
   4   reserve the right to amend or supplement these disclosures as necessary.
   5         I.     TRIAL WITNESSES
   6         The Stores identify the following individuals as witnesses whom they expect
   7   to be present, and those whom they may call if the need arises:
   8

   9          Name                  Contact Info              Will Call        May Call
  10    Roy Mikha             Contact through the                 X
  11                          Stores’ counsel
  12    Fred Mokou            Contact through the                 X
  13
                              Stores’ counsel

  14    Marri Shabilla        Contact through the                 X
                              Stores’ counsel
  15

  16    Wisam Asmar           Contact through the                                  X
                              Stores’ counsel
  17
        Tony Mattia           Contact through the                                  X
  18
                              Stores’ counsel
  19
        Laith Farida          Contact through the                                  X
  20                          Stores’ counsel
  21
        Amer Suleman          Contact through the                                  X
  22                          Stores’ counsel
  23    Jwan Kalyana          Contact through the                                  X
  24                          Stores’ counsel
  25    Haitham Hermiz        Contact through the                                  X
  26                          Stores’ counsel

  27    Sam Kassab            Contact through the                                  X
                              Stores’ counsel
  28
                                                                    PRETRIAL DISCLOSURES
                                                  1
                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7755 Page 3 of 8



   1
       Mickel Dawood       Contact through the                            X
   2                       Stores’ counsel
   3
       Mellad Odish        Contact through the                            X
   4                       Stores’ counsel
   5   Mason Dabish        Contact through the                            X
   6                       Stores’ counsel

   7   Anmar Daoud         Contact through the                            X
                           Stores’ counsel
   8

   9   Khalid Toma         Contact through the                            X
                           Stores’ counsel
  10

  11
       Joe Battou          Contact through the                            X
                           Stores’ counsel
  12
       Rami Abbouna        Contact through the                            X
  13
                           Stores’ counsel
  14
       Robert Gappy        Contact through the                            X
  15                       Stores’ counsel
  16
       Mark Watson         Contact through the            X
  17                       Stores’ counsel
  18   Hala Esshaki        Contact through the            X
  19                       Stores’ counsel
  20   Joseph Valerio      Contact through the            X
                           Stores’ counsel
  21                       Contact through Sean                           X
       Michael Wear
  22                       Reagan
       Shawn Lynch         Contact through Sean                           X
  23                       Reagan
  24   Ayed (“Jeff”)       Contact through Steve                          X
       Mansour             Elia
  25                       Elia Law Firm, APC
  26                       2221 Camino Del Rio S
                           Ste 207
  27                       San Diego, CA 92020
  28
                                                           PRETRIAL DISCLOSURES
                                          2
                                                      CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7756 Page 4 of 8



   1                                                               X
        Robert Tauler
   2
        Mathew Smith                                               X
   3

   4

   5         II.    WITNESSES BY DEPOSITION

   6         The Stores do not expect to present any witnesses solely by deposition,

   7   although they will play excerpts of the June 29, 2020 video deposition of Robert

   8   Tauler for the jury. Fed. R. Civ. P. 32(a).

   9         III.   DOCUMENTARY EXHIBITS

  10         The Stores identify the following exhibits and summaries of evidence that

  11   they expect to offer or may offer if the need arises:

  12
                           Description                          Will Offer     May Offer
  13
        Tauler Dep. Ex. 102                                                        X
  14
        Tauler Dep. Ex. 103                                                        X
  15

  16    Tauler Dep. Ex. 105                                                        X
  17    Tauler Dep. Ex. 106                                         X
  18
        Tauler Dep. Ex. 107                                         X
  19
        Tauler Dep. Ex. 108                                         X
  20
        Tauler Dep. Ex. 109                                         X
  21

  22    Tauler Dep. Ex. 110                                         X
  23    Tauler Dep. Ex. 111                                         X
  24    Tauler Dep. Ex. 112                                                        X
  25
        Tauler Dep. Ex. 113                                                        X
  26
        Tauler Dep. Ex. 114                                         X
  27

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                                                                    PRETRIAL DISCLOSURES
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                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7757 Page 5 of 8



   1
       Tauler Dep. Ex. 115                                  X
   2
       Tauler Dep. Ex. 116                                  X
   3

   4   Tauler Dep. Ex. 117                                  X

   5   Tauler Dep. Ex. 119                                                 X
   6   Tauler Dep. Ex. 120                                                 X
   7
       Tauler Dep. Ex. 121                                                 X
   8
       Tauler Dep. Ex. 122                                                 X
   9

  10   Tauler Dep. Ex. 123                                                 X

  11   Tauler Dep. Ex. 124                                                 X
  12   Tauler Dep. Ex. 125                                                 X
  13
       Tauler Dep. Ex. 126                                                 X
  14
       Tauler Dep. Ex. 128                                  X
  15

  16
       Mikha Dep. Ex. 9                                     X

  17   Outlaw v. San Diego Outlet Complaint                 X
  18   03.30.15 Analyst Worksheet re Product Rhino 7        X
  19   (SACC Ex. B)

  20   OUT_02698-701                                        X
  21   OUT_02702-03                                         X
  22
       Outlaw Laboratory Supp. Prod. 0001929-34             X
  23
       Outlaw Laboratory Supp. Prod. 003881-83              X
  24

  25
       Outlaw Laboratory Supp. Prod. 003903-11              X

  26   Outlaw Laboratory Supp. Prod. 003927-38              X
  27   Outlaw Laboratory Supp. Prod. 003955-61              X
  28
                                                            PRETRIAL DISCLOSURES
                                          4
                                                       CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7758 Page 6 of 8



   1
       Outlaw Supp. Prod. 003724-28                                         X
   2
       Outlaw Supp. Prod. 003724-28 (records re                             X
   3
       Capture Group produced 10.8.20)
   4
       Outlaw Supp. Prod. 003737                                            X
   5
       Unbatesed Outlaw Doc (12.20.17 Sample                                X
   6
       Analysis for Red Mamba)
   7
       01.31.19 Outlaw Laboratory, LP’s Responses to         X
   8   Requests for Admissions of Defendant Kachi
   9   Enterprises, Inc., Set One
  10   06.09.20 Third-Party Defendant Tauler Smith                          X
  11
       LLP’s Responses to Store Defendants’ First Set
       of Interrogatories
  12
       June 18, 2020 Expert Report of Marri Shabilla,        X
  13
       Ex. B (FRE 1006 Summary of Shabilla reliance
  14   materials re damages)
  15   Shabilla reliance materials re damages (FRE                          X
  16   1006)

  17   TSLLP0561-584                                                        X
  18   TSLLP0585-609                                                        X
  19
       TSLLP0610-634                                                        X
  20
       TSLLP0635-661                                                        X
  21

  22   TSLLP0662-688                                                        X

  23   TSLLP0714-741                                                        X
  24   TSLLP0771-799                                                        X
  25
       TSLLP0800-829                                                        X
  26
       TSLLP0830-859                                                        X
  27

  28
       TSLLP0891-921                                                        X
                                                             PRETRIAL DISCLOSURES
                                           5
                                                        CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7759 Page 7 of 8



   1
       TSLLP0922-953                                                          X
   2
       TSLLP0954-985                                                          X
   3

   4   TSLLP0986-1018                                                         X

   5   TSLLP1019-51                                                           X
   6   TSLLP1052-84                                                           X
   7
       TSLLP1085-118                                                          X
   8
       TSLLP1187-221                                                          X
   9

  10   TSLLP1222-56                                                           X

  11   TSLLP1284-316                                                          X
  12   NMRM10-11                                            X
  13
       NMRM12-35                                            X
  14
       ROMA010-17                                           X
  15

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  19
       Dated: October 9, 2020                GAW | POE LLP

  20

  21                                         By:   s/ Mark Poe
                                                   Mark Poe
  22                                               Attorneys for the Stores
  23

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                                                           PRETRIAL DISCLOSURES
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                                                      CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 310 Filed 10/09/20 PageID.7760 Page 8 of 8



   1                             CERTIFICATE OF SERVICE
   2                            Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY pursuant to an electronic service agreement between
   4   the parties, on October 9, 2020, I served the following document by electronic mail
   5   on the following individuals at the address indicated:
   6
             David Sergenian, david@sergenianashby.com (counsel for Tauler Smith
   7
             LLP)
   8
             Kevin Cole, kevin@kjclawgroup.com (counsel for Tauler Smith LLP)
   9

  10

  11
             THE STORES’ PRETRIAL DISCLOSURES

  12
                                                   GAW | POE LLP
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  14
                                                   By:   s/ Mark Poe
  15                                                     Mark Poe
                                                         Attorneys for the Stores
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                                                                     PRETRIAL DISCLOSURES
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                                                                CASE NO. 3:18-CV-840-GPC-BGS
